      Case 19-04698      Doc 34      Filed 06/08/22 Entered 06/08/22 12:20:46           Desc Main
                                       Document     Page 1 of 5



                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

  In Re:                                       )       Case No:        19-04698
           Manuel Lapena                       )
                                               )       Chapter:        Chapter 13
                            Debtor             )
                                               )       Judge:          Timothy A. Barnes

                                        NOTICE OF MOTION

TO: See attached list

   PLEASE TAKE NOTICE that on June 16, 2022 at 9:30 AM, I will appear before the Honorable
Timothy A. Barnes, or any judge sitting in that judge’s place, and present the motion of Manuel
Lapena to vacate the order for payroll control, a copy of which is attached

    This motion will be presented and heard electronically using Zoom for Government. No
personal appearance in court is necessary or permitted. To appear and be heard on the motion, you
must do the following:

   To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting ID and
passcode.

    To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666. Then
enter the meeting ID and passcode.

   Meeting ID and passcode. The meeting ID for this hearing is 161 329 5276 and the passcode is
433658. The meeting ID and passcode can also be found on the judge’s page on the court’s website.

    If you object to this motion and want it called on the presentment date above, you must file a
Notice of Objection no later than two (2) business days before that date. If a Notice of Objection is
timely filed, the motion will be called on the presentment date. If no Notice of Objection is timely
filed, the court may grant the motion in advance without a hearing.


                                              By:     /s/ Dale Allen Riley
                                                     ____________________________________
                                                        Dale Allen Riley
                                                        Geraci Law L.L.C.
                                                        55 E. Monroe Street #3400
                                                        Chicago, Illinois 60603
                                                        312.332.1800
                                                        ndil@geracilaw.com




Rec No. 810264
WD - NOTICE OF MOTION ZOOM
      Case 19-04698      Doc 34      Filed 06/08/22 Entered 06/08/22 12:20:46          Desc Main
                                       Document     Page 2 of 5



                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

  In Re:                                       )       Case No:       19-04698
           Manuel Lapena                       )
                                               )       Chapter:       Chapter 13
                            Debtor             )
                                               )       Judge:         Timothy A. Barnes

                                   CERTIFICATE OF SERVICE

   I, Dale Allen Riley, hereby certify that I served a copy of this notice along with the aforementioned
document upon the listed parties, by causing the same to be mailed in a properly addressed envelope,
postage prepaid, from 55 E. Monroe, Suite 3400, Chicago, Illinois, on June 8, 2022 at 12:16 PM.




Rec No. 810264
WD - NOTICE OF MOTION ZOOM
      Case 19-04698     Doc 34      Filed 06/08/22 Entered 06/08/22 12:20:46       Desc Main
                                      Document     Page 3 of 5



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

  In Re:                                      )       Case No:       19-04698
           Manuel Lapena                      )
                                              )       Chapter:       Chapter 13
                           Debtor             )
                                              )       Judge:          Timothy A. Barnes

                                    LIST OF PARTIES SERVED

Marilyn O. Marshall, 224 S. Michigan Ave. #800 , Chicago, IL 60604

Office of the U.S. Trustee, 219 S. Dearborn, Suite 873, Chicago, Illinois 60604

Manuel Santos Lapena, 8602 N Oleander Ave , Niles, IL 60714

Alden Management Services, 4200 W Peterson Ave, Ste 140, Chicago, IL 60646




Rec No. 810264
WD - NOTICE OF MOTION ZOOM
   Case 19-04698   Doc 34   Filed 06/08/22 Entered 06/08/22 12:20:46   Desc Main
                              Document     Page 4 of 5


               IN THE UNITED STATES OF BANKRUPTCY COURT
       FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 In Re:                              )     Case No:        19-04698
    Manuel Lapena                    )
              Debtor,                )     Chapter:        Chapter 13
                                     )
                                     )     Judge:           Timothy A. Barnes



   MOTION TO VACATE ORDER FOR PAYROLL CONTROL ENTERED ON 2/26/2019


NOW COMES the Debtor, Mr. Manuel Lapena (the “Debtors”), by and

through his attorneys, Geraci Law L.L.C., to present his MOTION TO

VACATE ORDER FOR PAYROLL CONTROL ENTERED ON 2/26/2019, and states as

follows:

  1.   This Court has jurisdiction pursuant to 11 U.S.C. 1334 and

       this is a “core proceeding” under 28 U.S.C. 157(b).

  2.   The Debtor filed a petition for bankruptcy protection under

       Chapter 13 of the US Bankruptcy Code and a plan of

       reorganization on 02/22/2019.

  3.   The plan was confirmed on 4/11/2019.

  4.   On 2/26/2019, the payroll control order was entered at the

       Debtor’s consent. See Exhibit A.

  5.   The Debtor has completed all required plan payments and is

       awaiting only the Trustee’s final audit for the case to close.
Case 19-04698   Doc 34   Filed 06/08/22 Entered 06/08/22 12:20:46   Desc Main
                           Document     Page 5 of 5


WHEREFORE the Debtor, Mr. Manuel Lapena, prays that this Court

enter an order vacating the order for payroll control entered on

2/26/2019 and for such further additional relief that this Court

may deem just and proper.




                                          __/s/ Dale Allen Riley_
                                             Dale Allen Riley




Attorneys for the Debtor
Geraci Law L.L.C.
55 E. Monroe Street #3400
Chicago, Illinois 60603
(Ph):   312.332.1800 (Fax):        877.247.1960
